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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                ALEXANDRIA DIVISION

 UNITED STATES, et al.,                        )
                                               )
                        Plaintiffs,            )
        v.                                     )       No. 1:23-cv-00108-LMB-JFA
                                               )
 GOOGLE LLC,                                   )
                                               )
                        Defendant.             )


    PLAINTIFFS’ MOTION TO AMEND ORDER REGARDING COORDINATION OF
                              DISCOVERY

        Plaintiffs respectfully move for an order amending the Order regarding Coordination of

 Discovery (the “Coordination Order”) (ECF No. 251) to extend its provisions to State of Texas et

 al. v. Google LLC, No. 4:20-cv-957 (E.D. Tex.), which left the multi-district litigation against

 Google, In re Google Digital Advertising Antitrust Litigation, No. 1:21-md-03010 (S.D.N.Y.),

 after this Court entered the Coordination Order. The grounds for this motion are set forth in the

 accompanying memorandum of law. A proposed order is attached.




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 Dated: April 12, 2024

 Respectfully submitted,

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